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                         United States District Court
                              District of Maine



Jane Doe, as mother and next friend of
her son, minor Jack Doe, et al.

           Plaintiffs,
                                             Civil No.: 2:15-cv-00257-DBH
v.

Brunswick School Department, Town
of Brunswick, Maine, et al.



           Defendants.


Joint Stipulation of All Parties to Dismiss With Prejudice All Claims Against
                          Defendant Walter Wallace

     Under Fed. R. Civ. P 41(a)(1)(A)(ii), all parties jointly stipulate to the

dismissal with prejudice of all claims against Defendant Walter Wallace.


Date: October 21, 2016                           Respectfully submitted,


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                             Certificate of Service

I hereby certify that on October 21, 2016 I electronically filed this court filing
with the Clerk of Court using the CM/ECF system which will send
notification of such filing(s) to the following:

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